                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



MARTIN ARNOLD RILEY,

       Plaintiff,

               v.                                             CASE NO. 22-3185-JWL-JPO

DEPUTY WARDEN (FNU) SKIDMORE, ET AL.,

        Defendants.


                                       SERVICE ORDER

       This matter is a civil rights action filed by a prisoner in the custody of the Secretary of the

Kansas Department of Corrections (“KDOC”). The Court has conducted a preliminary review of

the Complaint and finds a responsive pleading is necessary.

       IT IS ORDERED that:

       The Clerk of the Court shall notify the Kansas Attorney General (“AG”) and the KDOC of

this Service Order. The Court requests that Defendants CSI Sgt. (fnu) Hopkins, Major (fnu) East,

Capt. (fnu) Brown, Lt. (fnu) Rasmussen, and U.T. (fnu) Potter waive formal service of process

       The AG and/or the KDOC shall have thirty (30) days from entry of this Service Order to file

a Waiver of Service Executed and/or a Waiver of Service Unexecuted. Upon the electronic filing

of the Waiver of Service Executed, KDOC shall have sixty (60) days to prepare a report pursuant to

Martinez v. Aaron, 570 F.2d 317 (10th Cir. 1978). Upon the filing of that report, the Court will

screen Plaintiff’s Complaint and will enter an order setting an answer deadline if the Complaint

survives screening. Any answer deadline set forth in the waiver of service is not controlling.

       In those cases where a Waiver of Service Unexecuted is filed, the KDOC shall have ten (10)

days from the filing of the Waiver of Service Unexecuted, to supply the Clerk of Court with the last

known forwarding addresses for former employees, said addresses to be placed under seal and used
only for the purpose of attempting to effect service of process.

       Copies of this Service Order shall be transmitted to the AG and the KDOC.

       IT IS SO ORDERED.

       Dated this 6th day of September, 2022, at Kansas City, Kansas.



                                              s/ John W. Lungstrum
                                              SAM A. CROW
                                              U.S. District Judge
